        Case 3:25-cv-00609-SRU              Document 27     Filed 04/25/25     Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF CONNECTICUT

   JON NATHANSON, individually and on                          Case No. 3:25-cv-00609
   behalf of all others similarly situated,

             Plaintiff,
                                                              Consolidated Class Action
   v.

   YALE NEW HAVEN HEALTH
   SERVICES CORP.,

             Defendant.


 JOINT NOTICE OF MEDIATION AND STIPULATION TO SET CASE DEADLINES

        Plaintiffs, Jon Nathanson and Michael Liparulo, individually, and on behalf of all others

similarly situated (“Plaintiffs”), and Defendant, Yale New Haven Health Services Corp.

(“Defendant”) (collectively “Parties”), hereby notice the Court that the Parties have agreed to

attend an early mediation in this action.

        1.         The Parties have decided to schedule a mediation to see whether potential early

resolution of this matter is possible. To that end, the Parties have scheduled mediation on August

8, 2025, with experienced class action mediator Bennett G. Picker, Esq. of Stradley Ronon Stevens

& Young LLP.

        2.         Between now and the date of mediation, to ensure the time is well served in the

event mediation is unsuccessful, the Plaintiffs intend to file a consolidated class action complaint

on or before June 16, 2025, schedule a Rule 26(f) conference, agree on the form of a protective

order and an ESI protocol, work with the Court to further coordinate this and the related actions

that are not yet consolidated, and propound the necessary limited informal discovery to prepare

for mediation.
         Case 3:25-cv-00609-SRU            Document 27        Filed 04/25/25      Page 2 of 3




         3.       Notably, Defendant does not want to delay the time for filing a motion to dismiss

regardless of mediation. The Parties request that the Court set the deadline for Defendant to file a

motion to dismiss for July 16, 2025, or 30 days after the filing of the amended consolidated

complaint, with an opposition deadline of August 29, 2025, or 21 days following mediation, with

a reply deadline of September 19, 2025, or 21 days following the opposition.

         4.       Plaintiffs’ counsel has conferred with plaintiffs’ counsel in the three class actions

filed in this Court after the two cases were consolidated by order of the Court (the “Related

Actions”). 1 Those cases involve the same cybersecurity event, have the same claims, and include

the same proposed class as in this action. Plaintiffs’ counsel in the Related Actions have been

advised of the details of the mediation; they do not oppose Plaintiffs’ counsel taking the lead in

the mediation or their re-seeking appointment of interim lead counsel in this action and over the

putative class overlapping with their actions; and they do not oppose consolidation of their cases

into this action, should the Court so determine consolidation is appropriate.

         5.       Should the Court agree with the foregoing, the Parties will notify the Court of the

outcome of mediation within three days following mediation.

    Dated: April 25, 2025                           Respectfully submitted,

    COUNSEL FOR PLAINTIFFS,                         YALE NEW HAVEN HEALTH SERVICES
                                                    CORPORATION,
    /s/ Jeff Ostrow                                /s/ Sean B. Solis_____
    Jeff Ostrow (pro hac vice)                     Sean B. Solis (admitted pro hac vice)
    KOPELOWITZ OSTROW P.A.                         Casie D. Collignon (pro hac vice pending)
    One W. Las Olas Blvd. Ste. 500                 BAKER & HOSTETLER LLP
    Fort Lauderdale, FL 33301                      1801 California St., Suite 4400
    Tel: 954-332-4200                              Denver, CO 80202
                                                   Telephone: 303.861.0600
    ostrow@kolawyers.com                           Facsimile: 303.861.7805

1
 The Related Actions are Stephanie Harvin v. Yale New Haven Health Services Corp., Case No.
3:25-CV-612 (D. Conn.), Michael Wise v. Yale New Haven Health System, Case No. 3:25-CV-615
(D. Conn.), and Lisa Taylor-Austin v. Yale New Haven Health Services Corp., Case No. 3:25-CV-
632 (D. Conn.)


4928-2680-0187, v. 1
         Case 3:25-cv-00609-SRU       Document 27   Filed 04/25/25    Page 3 of 3



                                                ssolis@bakerlaw.com
  David K. Lietz (pro hac vice pending)         ccollignon@bakerlaw.com
  MILLBERG COLEMAN BRYSON
  PHILLIPS GROSSMAN, PLLC                       Philip H. Bieler (Bar No. 16252)
  5335 Wisconsin Ave, NW, Suite 440             BAKER & HOSTETLER LLP
  Washington, DC 20015                          45 Rockefeller Plaza 14th Floor
                                                New York, New York 10111
  Phone: 866-252-0878                           Tel.: (212) 847-2868
  dlietz@milberg.com                            Fax: (212) 589-4201
                                                pbieler@bakerlaw.com
  William B. Federman
  (pro hac vice pending)                        Counsel for Yale New Haven Health Services
  FEDERMAN & SHERWOOD                           Corporation
  10205 N. Pennsylvania Ave
  Oklahoma City, OK 73120
  Tel: 405-235-1560
  wbf@federmanlaw.com

  Plaintiffs’ Counsel




4928-2680-0187, v. 1
